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COMP
CARLOS RAMOS PACUSSICH
PRO SE, LEGAL NOVICE, PLAINTIFF

ADA - PROTECTED GROUP MEMBER (PGM)

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COUNSEL/PARTIES OF R

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DISTRICT OF NEVADA

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UNITED STATES DISTRICT COURT
DISTRICT OF NEVADA

CARLOS RAMOS PACUSSICH
PRO SE PLAINTIFF,

VS.

WESTLAND TARA VISTA, LLC
AF PROPERTIES 2015, LLC

CITY TOWING, INC

QUALITY TOWING

2024 LOSEE PROPERTIES, LLC
URT UNITED ROAD TOWING, INC

DEFENDANTS

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2:18-cv-02340-GMN-NJK

INTENTIONAL DEPRIVATION OF
READILY AVAILABLE ESSENTIAL
TRANSPORTATION SERVICES NECESSAR}
FOR PHYSICAL HEALTH & MENTAL
HEALTH OF ADA VULNERABLE SENIOR

4 75 & 14™ AMENDMENT MULTIPLE
VIOLATIONS - RICO — THEFT / FRAUD -
INTENTIONAL LIFE ENDANGERMENT -
PSYCHOLOGICAL SADISM ON SENIOR

INFLICTION OF PSYCHOLOGICAL

AND EMOTIONAL ANGUISH, PAIN,
AND DISTRESS BY CONTRACT BREACH
OF GOOD FAITH AND FAIR DEALING AS
GROSS MISCONDUCT TO SENIOR IN
“GOOD STANDING” TENANT

FAILURE TO TRAIN AND SUPERVISE
DEPRAVED INDIFFERENCE

JURY TRIAL DEMANDED

Undersigned Plaintiff, Carlos Ramos Pacussich, declares under penalty of perjury

the following facts are true and correct to the best of Plaintiff’s knowledge and
belief:

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VERIFIED COMPLAINT

Before this Honorable Court comes now Plaintiff Carlos Ramos Pacussich
presenting this Verified Complaint for Malicious Abuse of an ADA Vulnerable
Senior Citizen Tenant in “good standing” at the Apartment Complex Management
Company, Westland Tara Vista, LLC. There was Wanton and Willful RICO
Violations of Theft by Deception / Blatant Fraud / Derivative Liability as an

aider, abettor, and co-conspirator in vehicle theft with the Codefendants.

Additionally, Defendant Westland Tara Vista, LLC must be held accountable
under the Legal Theory of Derivative Liability for Intentional Life Endangerment,
and Psychological Sadism, as Depraved Indifference to the health and welfare,
perpetrated on this Senior Vulnerable Plaintiff, as well as that above described de
facto theft by fraud of Plaintiff's life essential transportation vehicle. It should be
well understood that the Theft by Fraud of Plaintiff's life essential transportation
vehicle necessitated Plaintiff's purchase of a replacement vehicle. These multiple
Defendants’ egregious actions were all in abrogation of the 4" /5" & 147%
Amendments to the United States Constitution, as well as 42 U.S. Code §3001 &
NRS 41.1395 & NRS 200.5091 / 200.2092 / ~ 200.50995 also NRS 193.167 that
are Violations of Federal and State Public Law / Policy regarding the treatment of
Seniors. As well, the Apartment Complex Management Company, Westland Tara
Vista, LLC, allows the other Defendants, Quality Towing Company (City Towing,
Inc. / United Road Towing) to engage in conduct, which Westland Tara Vista,
LLC, Managers, Supervisors, Lead Personnel all know or reasonably should
know is the virtual harassment and theft, with an accompanying extortion for
substantial cost, exacted from this fixed income, low income senior to retrieve his
rightful property, which was legally parked on private property in his Westland
Tara Vista, LLC assigned parking spaces. This Complaint is to receive redress for

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a collaborative effort of a purported legal towing, that was precipitated on a
Westland Tara Vista, LLC, capricious determination of “unsightly / ugly” which
when undisguised is really an apparent, egal shakedown of a fixed income,
handicapped senior, who is overwhelmed by any litigation cost for property
retrieval, and the direct victim of unmistakable RICO violations effecting interstate

economic / business.

CASE SYNOPSIS

1. This Complaint viewed as evidence submitted in a light most favorable to

the Plaintiff Pacussich, with the benefit of any reasonable factual inferences
that could be drawn in Plaintiffs favor would demand decisions by any
Judge in Plaintiff's favor. However Defendants are intransigent and ignore
Plaintiff's repeated Good Faith Efforts to resolve these issues out of Court;
consequently, this Verified Complaint Results.
¢ The Plaintiff Pacussich has engaged in pre-dispute resolution such
that multiple efforts were made by contacting the Defendants, via
personal conversations, a direct letter, and telephone calls.
* Further the Plaintiff made a Las Vegas Metropolitan Police
Department and a Division of Motor Vehicles report regarding the

illegal action.

. Reasonable minds, with knowledge of all the relevant facts presented by

Plaintiff Pacussich would conclude, as evidenced by the multiple instances
of the Quality Towing Company engaging in the illegal money making
expeditions, exclusively on private property, owned by Westland Tara Vista,
where Quality Towing Company is even protected, in addition to being

sanctioned, by Westland Tara Vista, in a continuing RICO conspiracy,

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illegally towing as many vehicles as possible. Multiple vehicles are towed,
such that as many that can be calculated that low-income owners are not
going to be in a financial position of recovering. The vehicles that are not
rescued, by their legal owners, processed as virtual theft, from low income
seniors, it is genuinely believed that the vehicles are then sold at auction by
Quality Used Cars, located at the same address as Quality Towing, in a
further RICO conspiracy, effecting Interstate Commerce.

3. Specifically the Named Defendants Managers, Supervisors, and Lead
Persons of all the Defendants are fully responsible for the unintended
consequences, when the unintended consequences, but not unanticipated
consequences, are precipitated by an illegal action that causes harm to this
individual Plaintiff.

4. It is axiomatic that illegal actions, such as those articulated in this
Complaint, engender harm to the General Public, and thus qualify as RICO

violations impacting interstate commerce.

PLAINTIFF PACUSSICH PROFESSIONAL CREDENTIALS

Plaintiff, a 79 year old (DOB 1939), ADA Protected white male on thrice weekly
dialysis. Pacussich, who, throughout his life, has worked in supervisory positions,
thus Plaintiff is acutely aware of the appropriate actions which should have been
taken by the entire Defendants’ Supervisory Personnel once informed of the impact

on the vulnerable Senior Plaintiff.

INTRODUCTION
AND
UNDISPUTED BACKGROUND FACTS

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A. Plaintiff Carlos Ramos Pacussich of Las Vegas, Nevada moved his residence

from another Senior Apartment Complex, Las Vegas, Nevada to Tara Vista
LLC, 3915 Tara Avenue, Apartment 6, and became a tenant on October 1,
2017. Subsequently, Plaintiff Pacussich was assigned two (2) specifically
designated parking areas on the private property of Tara Vista LLC, as an
included amenity, in the monthly rent fee. The specifically designated
parking assignment was obtained by getting an assigned area from the
named Tara Vista LLC management employee, who personally assigned the
numbered area, which was not otherwise made available to the general

public because it was the private property of Tara Vista LLC.

. Later, on or about August 1, 2018, the property was sold to Westland Tara

Vista, which continued the existing tenant’s rental agreements, of those
tenants in good standing, without substantial modification. Clearly, the only
necessary changes, which were requested in writing by the new owners, of
those tenants in good standing, were that the rent check be made payable to
Westland Tara Vista LLC, and further the new owners requested that each
tenant provide a list of their vehicles’ information, including their currently
assigned parking numbers, when delivering the respective tenant’s first rent

payment to the new owners.

. Plaintiff, who timely paid his rent and remained in good standing, had no

reason to believe that the assigned amenity parking areas on private property
would ever be prohibited in use for any reason, perhaps except for
nonpayment of rent and eviction. Further, neither any rational person, nor
Plaintiff Pacussich could be made to believe that Westland Tara Vista would
allow Quality Towing to illegally tow Plaintiff's legally parked vehicle, on
private property, for any reason.

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D. Plaintiff Pacussich came to know Managers, Supervisory Personnel, and

Lead Persons through the Tenant rent paying process and repeatedly asked

why the vehicle was illegally towed. The only response was “take it up with

99 66 999

the towing company”, “we have pictures of your vehicle, and it was ‘ugly’”.

. Note Well: Neither in verbal communication, nor written communication,

nor within the lease agreement were there any instructions that a tenant in
good standing could not have a registered and insured, “ugly” vehicle

parked in one’s assigned parking area.

. Both Federal and State Public Policy throughout all areas of law require

interpretation of the law in accordance with public policy.
e “where situations are created that tend to operate to the detriment of
public interest or public policy are void....”
CF Weston Cab Co. v. Kellar, 90 Nev240, 523 P. 2d 842, Appeal
Dismissed, Cert. Denied 420 U.S. 914 (1974)

. As this Complaint is intended to determine: Tara Vista LLC cannot

capriciously determine to have a vehicle towed because it was “ugly”
notwithstanding that the vehicle was registered and insured and parked in

one’s assigned parking area.

PLAINTIFF PERSONAL BACKGROUND AND RELATED EVENTS

Currently, Plaintiff as a retired 79-year old, is on a fixed/limited income.
Consequently, it is, precisely, this limited income that makes Senior Vulnerable
Plaintiff Pacussich particularly sensitive and administratively powerless to the
egregious abuse perpetrated by the multiple Defendants. It follows that when one
is on a limited income, one cannot immediately make available a large amount of

money to virtually “rescue” or retrieve via RANSOM PAYMENT, one’s vehicle

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that was illegally towed (stolen) away. Anyone in a low income group / fixed
income simply forfeits their vehicle, due to the excessive initial towing charges, as
well as from the daily outrageously unnecessary accumulating storage charges,
precipitated by the illegal towing, and then aggravated by one’s virtual, fixed
income poverty. Plaintiff Pacussich’s vehicle was parked on private property, not
on the public street, but in the assigned numbered spot, which was initially
assigned by Tara Vista LLC in 2017 and the official assignment was then
subsequently continued and later confirmed by Defendants, Westland Tara Vista in
August 2018.

Furthermore, it should be equally understood that the vehicle registration was valid
and current only due to expire on November 22, 2018, well after the date it was
virtually stolen / illegally confiscated, for all intents and purposes, intended to be
RANSOMED back to Plaintiff Pacussich. It should be well comprehended that the
vehicle insurance was valid and current with The Hartford Insurance Company.

As well, Plaintiff made his timely rent payments, thus he was in “good standing”
with the Apartment Complex Management, Westland Tara Vista. In truth and in
fact, Defendants were provided with copies of the Plaintiff's Vehicle Registration
and Insurance documents, thus positively proving proper vehicle registration and
insurance for any rational mind. When efforts to retrieve the properly registered
and insured vehicle failed, Defendants were then provided with a Letter of Intent to
Sue, and repeatedly called multiple times to request the return of said vehicle,
which was all ineffective. As of this writing, Defendants still illegally retain
Plaintiff Pacussich’s vehicle making Pacussich’s daily activities most burdensome
and most inconvenient without the use of his illegally impounded vehicle, being
held for a RANSOM that Pacussich is unable to pay; consequently Pacussich out
of sheer necessity was required to aid in the purchase, by a friend, of an alternative
means transportation to attend Plaintiff Pacussich’s thrice weekly dialysis.

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SIX (6) DEFENDANTS
TWO (2) REGISTERED AGENTS

. WESTLAND TARA VISTA, LLC

AF PROPERTIES 2015, LLC
REGISTERED AGENT

¢ PARACORP INCORPORATED
318 N. CARSON STREET
SUITE 208
CARSON CITY, NEVADA 89701
CITY TOWING, INC
QUALITY TOWING
2024 LOSEE PROPERTIES, LLC
URT UNITED ROAD TOWING, INC
REGISTERED AGENT

¢ CSC SERVICES OF NEVADA, INC.
2215 - B RENAISSANCE DR
LAS VEGAS, NEVADA 89119

CAUSES OF ACTION
AND

SUPPORTING POINTS AND AUTHORITIES

WITH
LEGAL ARGUMENTS

. Count 1 —-

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INTENTIONAL DEPRIVATION OF READILY AVAILABLE ESSENTIAL
TRANSPORTATION SERVICES NECESSARY FOR PHYSICAL HEALTH

& MENTAL HEALTH OF ADA SENIOR

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A. Malicious Deprivation of Readily Available Essential Transportation

to go to the Medically crucial Dialysis for Senior Vulnerable Plaintiff,
on thrice weekly dialysis sessions, which is Critical for the Physical

Health and Mental Health of Senior ADA Plaintiff -

. All Americans have the fundamental Due Process Right to bodily

integrity, and have unimpeded access to dialysis, which is protected
by the Due Process clause of the Fourteenth Amendment; therefore,
when any individual undertakes to inappropriately, maliciously deny
the identified emergency need for transportation to attend the dialysis
treatments, those individual Companies and LLC’s should be required
to make a strong legal showing of the necessity for that denial and the
appropriateness of their actions; 1.e., that the denial was not based on
any element of discrimination, capricious action without justification,

or any other illegal action.

. Plaintiff charges that the Defendants simply acted under an

inappropriate, malicious based lie of “Right to Tow” a legally parked
vehicle from private property, which unintended, but not
unanticipated, severely impacted the Plaintiff Pacussich, only because

the vehicle was capriciously determined to be “ugly”.

. NRS 41.1395 — “Abuse” means willful and unjustified infliction of

pain and mental anguish or the deprivation of services which are
necessary to maintain the physical / mental health of an older person /
or vulnerable person.

¢ Plaintiff identified himself as having an urgent need for the

immediate return of his vehicle in that Pacussich needed to

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attend dialysis treatment, which was well known to the
Defendant Companies and LLC’s.
E. 42 US. CODE $3001:
“Abuse” means willful and unjustified infliction of pain and mental
anguish or the deprivation of services which are necessary to maintain
the physical / mental health of an older person / vulnerable.
¢ “The United States Code is a consolidation and codification by
subject matter of the general and permanent laws of the United
States.”
¢ “responsibility” ... to assist our older people to secure equal
opportunity to the full and free enjoyment of their elder
years.... Knowingly acting to impede dialysis treatment is
egregiously criminal.
o “Retirement in health, honor, dignity — after years of
contribution to the economy”
¢ Plaintiff identified himself as having an immediate need for
the vehicle to attend the dialysis treatments. Further,
Pacussich was well known to Defendants, therefore once the
illegal confiscation of the vehicle was determined, because it
was fully registered and insured, as well as legally parked in
the designated parking spot, there was no legitimate business
reason to deny the immediate return of the Plaintiffs vehicle.
Only malicious Greed.
F, The Defendant Companies and LLC’s, acted with deliberate
indifference to a basic legal right that shocks the conscience, simply

out of greed and the ensuing malicious animus.

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G. The Defendants acted in an abhorrent manner, with a very high degree
of fault evincing such malice or sadistic behavior based on
Defendant’s malicious greed ignoring the consequences of the illegal
actions towards the Plaintiff Pacussich, such that sizeable punitive
damages are warranted to stop that very shocking behavior

precipitated and occasioned by only avarice / greed.

Basis of Malicious, greed —
¢ Male
e¢ White
¢ Senior Handicapped in Urgent Need for Life Critical Dialysis
Treatments
¢ Rejection of unwelcomed demand for the return of the vehicle.
No legitimate basis for denial —
¢ Plaintiff was / is Tenant and a not security threat, further well known
to the Defendant Managers via rent payments and vehicle problem.
¢ Money and valuables in vehicle (approximately $122.00 USD in
clove compartment, a used computer in the vehicle trunk / no sensitive
information.
* Pattern and Practice established “selective towing” based on special
request of Defendants Westland Tara Vista to Quality Towing.
© Permission was granted based on “friends, family, employee
likes, employee dislikes, and Defendant‘s malicious, greed.
o This is evidenced by the fact that the vehicles were towed

illegally and indiscriminately upon approval of Defendant

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Westland Tara Vista; i.e., no absolute policy to prevent abuse or

any specific policy of how a vehicle must look.

2. Count 2 —

4 5th & 14™ AMENDMENT MULTIPLE VIOLATIONS /
RICO — THEFT / FRAUD

A. One who is denied the most basic of needs to have essential, legally
owned, registered, and insured transportation available for medical
purposes, by anyone with the power to deny and control the other
person’s right to medical treatment, then denies or illegally impounds
that essential transportation is deliberately intending to physically
injure, humiliate and punish the other for some form of identity and
power gratification. Plaintiff genuinely believes that there are very
psychologically sick Defendants’ individual Managers, Supervisors,
and Lead Personnel involved in the illegal confiscation of vehicles
from low income vulnerable individuals, legally parked spaces on the
private property of Westland Tara Vista. All based on a capricious
determination of what is “ugly”.

B. It should be well understood that the Plaintiff believed that as a
Tenant, in Good Standing, paying his rent on time, with the new
Management Company, Westland Tara Vista, LLC, that he would be
treated with respect and dignity. Plaintiff Pacussich was well known
to Defendants.

C. Denial of the right to medical treatment via the capricious confiscation
of one’s legally owned property is intended to be degrading,

humiliating, and intentionally impede essential medical treatment,

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which is a clear violation of the legal rights of one’s 4" /5" and 14"
United States Constitutional Amendment’s Rights.

D. NRS 193.167 Plaintiff Pacussich is a vulnerable person due to age and
thrice weekly dialysis, who was shockingly the victim of being taken
advantage, by the co-conspiracy of Westland Tara Vista and Quality
Towing.

E. It is well recognized that Prisoners of War often suffered denial of
medical treatment, which places Defendants on an equal level with the

most heinous of characters.

SUB - COUNT 2 - Malicious, Willful, Wanton Abuse of Senior Citizen
and Infliction of Psychological Pain as Abuse / Sadism.

A. Defendants’ most important radical aim was to make Plaintiff Pacussich

suffer, since there is no greater power over another person than that of
inflicting pain on him to force him to undergo psychological suffering
without him being able to defend himself or receive administrative relief;
i.e. intentional life endangerment while one’s essential transportation for
medical purposes is being held for virtual RANSOM causing Plaintiff
unbearable anguish.

Sexual sadism was named by Richard von Krafft-Ebing' after the Marquis
de Sade whose acts pair with domination and degradation. It cannot be
disputed that the Defendants acted with domination and control of the
Vulnerable ADA Senior Plaintiff, after Plaintiff stated his emergency
situation. It will be argued by Plaintiff that the Managers, Supervisors, and

Lead Personnel of Westland Tara Vista were preoccupied with their own

1 Article Park Eliott Dietz, MD., et.at. “The Sexually Sadistic Criminal and
His Offences”

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self-importance to administratively logically address an easily remediated

illegal situation:

“Sadism: The wish to inflict pain on others is not the essence of
sadism. One essential impulse: to have complete mastery over
another person, to make him/her a helpless object of our will, to
become the absolute ruler over him. To become his God, to do
with him as one pleases. To humiliate him. To enslave him
are the means to this end. And the most important radical aim is to
make him suffer since there is no greater power over another
person than that of inflicting pain on him to force him to
undergo suffering without him being able to defend himself, The
pleasure in the complete domination over another person is the
very essence of the Sadistic drive.”

Denial of the return of Plaintiff Pacussich’s private property
vehicle was intended to be degrading, humiliating and a clear
violation of Constitutional rights. While not affording Plaintiff
Pacussich Westland Tara Vista logical administrative relief
Westland Tara Vista and its Defendant co-conspirators is in
egregious violation of multiple laws.

Further, one could rationally argue that Westland Tara Vista’s
denial of the Vulnerable ADA Senior Plaintiff's private property
return via administrative procedures was intended as a sadistic hate
crime warranting a substantial punitive damage award for the
malice.

It is undisputed that the Defendants’ Managers, Supervisors, Lead

Personnel of Westland Tara Vista derived pleasure in the complete

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domination over the ADA Plaintiff which was the very essence of

the Westland Tara Vista’s Defendants’ Sadistic drive.

. Count 3—

INFLICTION OF PSYCHOLOGICAL AND EMOTIONAL ANGUISH, PAIN,

AND DISTRESS BY CONTRACT BREACH OF GOOD FAITH AND FAIR
DEALING AS GROSS MISCONDUCT TO SENIOR VULNERABLE ADA TENANT
IN GOOD STANDING.

. Wrongful and Unjustified Conduct of the Infliction of Psychological and

Emotional Anguish, Pain, and Distress as the Contract Breach of Good Faith
and Fair Dealing; i.e., Gross Misconduct to Tenant Pacussich, who was in
good standing always making timely rent payments was expecting dignified

and courteous service via his rental agreement.

. Clearly there was an implied contract of trust and confidence from the

named Defendants and the reasonable expectation of Good Faith treatment
in consonance with Nevada Public Policy on the Treatment of ADA

Vulnerable Seniors.

. The denial of the use of the vehicle for medical purposes, the supporting,

abject lie that the vehicle was illegally parked or in some way in violation of
the lease, was wrongful breach of contract, and conduct motivated by the
obstinate indifference to the anguish, pain and distress caused to the Senior
Citizen Plaintiff Pacussich demanding the return of his legally parked

vehicle.

. The Plaintiff initially approached the named Defendants respectfully, but

was confronted by the Defendant’s Abuse of Authority / Misuse of Power
intentionally caused the Plaintiff total humiliation, the loss of property

vehicle use for medical transportation purposes, as well as the distress of

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knowing that Plaintiff would have to explain the loss of vehicle to others at

the Apartment Complex.

PSYCHOLOGICAL AFFECTS ON PLAINTIFF PACUSSICH

. Plaintiff Pacussich experienced a sense of outrage and shame that the

named Defendants Manager, Supervisory Personnel, Lead Persons of
Westland Tara Vista and its Defendant co-conspirators acted with such
malicious abuse of their authority to deny the Plaintiff the Legal Right to
park his vehicle on private property, as an amenity of the rental contract,

due to malicious and greedy motives.

. Plaintiff Pacussich experienced feelings of guilt, in having to explain to

his Life Partner that his transportation was towed and there was little he
could do. Plaintiff now has fear of comparable situations where
someone with petty authority can humiliate Plaintiff again virtually
stealing the Plaintiff's vehicle and not affording any administrative
recourse whatsoever.

¢ Plaintiff Pacussich now avoids the named Defendants, so as not to

encounter the further, malicious actions.

. Causation and damage to the Plaintiff were foreseeable in that preventing

one’s right to have essential, legally owned, registered, and insured
transportation critical for medical purposes results in severe emotional

turmoil in the mind of Plaintiff.

4. Count 4-
FAILURE TO TRAIN AND SUPERVISE

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A. All the named Defendants breached a legal duty to its Vulnerable Senior

ADA tenant in good standing Plaintiff Pacussich and failed to ensure
the enforcement of Nevada Public Policy that seniors would be treated
with courtesy and dignity; i.e., never humiliated, never denied legal rights
because of greed, and not have private property taken without rational

administrative recourse readily available.

. All the named Defendants breached their legal duty by hiring,

retaining, promoting, failing to train and supervise the Manager,
Supervisory Personnel, Lead Persons who acted in a malicious manner
towards the tenant Plaintiff Pacussich by not immediately returning the

vehicle via “in house” administrative relief / procedures.

. Managers, Supervisory Personnel, Lead Persons denied Plaintiff legal

right to retrieve his vehicle for no other reason than greed and

incompetence because of improper / no training.

. Managers, Supervisory Personnel, Lead Persons were direct cause of the

79 year old Vulnerable ADA Plaintiff's infliction of humiliation, sense
of outrage, feelings of guilt, fear of comparable situations and loss of

the use of vehicle for critical medical needs purposes.

. The named Defendants’ Managers, malicious, greed caused the

Plaintiff s Infliction of Psychological and Emotional Anguish, Legal
Rights violations and general mistreatment of a dialysis patient who

critically needed his vehicle for essential transportation.

. The named Defendants’ Managers and supervisors even mocked the

Plaintiff by stating the following:
e “Pay the money”

¢ “We don’t care if you sue” “Do what you have to do”

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e “You car was ugly, we have pictures”

G. The named Defendants’ Managers and supervisors acted with
Depraved Indifference to the Physical and Psychological Needs of
the Plaintiff Pacussich in violation of Federal and State Public

Policy for which they were untrained / unsupervised.

PREVIOUS LAWSUITS AND ADMINISTRATIVE RELIEF

1. Ihave not filed other actions in state or federal courts involving the same or
similar facts of Deprivation of Essential Transportation Services Necessary
for Physical Health and Mental Health of Senior, endangering Plaintiffs
life, in this state or any other state.

2. Ihave attempted to resolve this dispute, by speaking to supervisors, writing
a letter of Notice of Intent to Sue in Court, as well as making telephone
calls and having conversations where all administrative resolution efforts
made by the Plaintiff Pacussich were rebuked. As well, Plaintiff's vehicle
is still being held fora RANSOM which Pacussich is unable to pay.

3. I declare under penalty of perjury that I will make an immediate offer to
settle out of Court upon a reasonable offer of settlement, which takes into
account the malicious, sadistic actions of life endangerment, collectively

made by the above listed six (6) Defendants.

REQUEST AND JUSTIFICATION FOR RELIEF

1. Plaintiff believes entitlement to Exemplary, Punitive, and
Compensatory relief should be awarded in the amount of

$300,000.00 USD, from each and every Defendant, or collectively,

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by all six (6) Defendants, for total of $1,800,000.00 USD because of
the previously documented (supra, infra) Depraved Indifference to the
Physical and Psychological Needs of the Plaintiff Pacussich in
violation of Federal and State Public Policy as well as the hateful
sadistic actions of all Defendants, in a collective conspiracy as failure
to supervise. Most extraordinary were the nonexistent procedures for
administrative relief, in a lack of supervisory oversight endangering
the life of Plaintiff; i.e., no administrative protocols by the
Defendants for the immediate return of vehicles illegally / mistakenly
towed.

4™ Amendments to the

¢ In appalling violation of the 4"/5" & 1
United States Constitution, as well as 42 U.S. Code §3001 &
NRS 41.1395 & NRS 200.5091 / 200.2092 / ~ 200.50995
equally the penalties of NRS 193.167 prove that the actions are

specific Violations of Federal and State Public Law / Policy.

. Plaintiff Pacussich, who is a vulnerable person due to his age of 79

and his thrice weekly dialysis, was shockingly taken advantage of due

to his long-term severe vulnerability.

. Defendants knowingly, intentionally, willfully and in an unjustified

manner, endangered the life of the Vulnerable, ADA Plaintiff. The

Depraved Indifference, extreme malice, and sadism, specifically by
the Defendants’ Managers, Supervisors, and Lead Persons all who
manifested a total disregard of the physical harm, pain and suffering,
as well as the emotional humiliation and turmoil, experienced by
Plaintiff simply trying to regain his legally parked property, used for
essential medical transportation purposes, which was / is being held

for RANSOM.

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4. Prior to the filing of this Verified Complaint in Federal Court as well
as during the preparation of this Verified Complaint, Plaintiff
Pacussich tried to reach an administrative out of court settlement,
with those responsible for the Plaintiffs pain, suffering, emotional
turmoil, humiliation, and gross indignity, precipitated by the very
malicious actions of Managers, Supervisors, and Lead Persons but
was confronted by multiple spurious excuses from the Defendants
who refused to return said property, only stating: “pay the money,
pay the money”. Again, regrettably, lacking any administrative
redress from the Defendants the Plaintiff is de facto forced to make
this Verified Complaint.

AFFIDAVIT OF VERIFICATION

I, Carlos Ramos Pacussich am the Plaintiff in the above-entitled action. I have

read the foregoing and know the contents thereof. The same is true of my own

knowledge, except as to those matters, which are therein posited on information

and belief, and as to those matters, I believe it / them to be true.

I understand that a false statement in this COMPLAINT will subject me to

penalties of perjury.

Further, I declare under penalty of perjury under the laws of the United States of

America and the State of Nevada, that the foregoing is true and correct.
DECLARATION UNDER PENALTY OF PERJURY

The Plaintiff has reviewed the Complaint, supra; the Plaintiff has personal
knowledge of the events leading to the Deprivation of Essential Services

Necessary for Physical Health and Mental Health of Senior. The Plaintiff

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knows or believes that the events, allegations, causes of action are accurate
and knows them / believes them to be true.

I understand that a false statement in this Complaint will subject me to
penalties of perjury. I DECLARE UNDER PENALTY OF PERJURY
UNDER THE LAWS OF THE UNITED STATES OF AMERICA THAT
THE FOREGOING IS TRUE AND CORRECT.

JURAT
STATE OF NEVADA
COUNTY OF CLARK
SIGNED & SWORN TO
BEFORE ME FG Lo pip /2/7he
NOfARY

This Document, Verified Complaint, is respectfully submitted with the
unpaid help of long-term, non-attorney, friends, who typed this document,
assisted with the legal research, and provided editing and proof reading

At aed 4

CAREOS RAMOS PACUS ft
PRO SE, LEGAL NOVICE, PLAINTIFF
ADA - PROTECTED GROUP MEMBER (PGM)

3915 TARA AVENUE
APARTMENT #6
LAS VEGAS, NV 89102
TEL: 702.626.3442
EMAIL: cramospac@gmail.com

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EXHIBIT |

LETTER
FROM
MANAGEMENT
ASSIGNING
PARKING PLACES

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Tara Vista Apartments

Tara Vista LLC
3915 Tara Ave. #4
Las Vegas, NV 89102
(702)368-4968

6/4/2018

Carlos Pacussich
3915 Tara Ave #6

Carlos,

We have rearranged parking spaces recently. You now have
spaces that are next to each other for your vehicles. As of
today your parking spaces will be #8 and #9. We thank you for
your cooperation.

TARA VISTA LLC
Anthony Perna
Property Mafiager

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TA APARTMENTS:
~° 9095 Tara:Ave.
Las Vegas, NV'89102
Phone (702) 368-4968 Fax (702) 796-983:
taravistacomplex@ hotmail.com

RENTAL LEASE AGREEMENT
uessee_ CAPLOS Hinuas ich pare tL 6-201)

LESSEE
AGREE(S) TO RENT THE PREMISES, KNOWN AS TARAWES

UNIT 3915 7 LARA Ave g APT., 4e OG 5y LEASE FOR

Ye

ONE(s)vEARsTARTING [ft / |  y@ZO ["7___AND ENDING

130 2073 wits THE FOLLOWING TERMS.
ol 9

RENTAL PERIOD: Rental period shail commence on
toy tl 20 O.

Rental fees a are sk ° ber month. If the tenant moves. during the month,
the first month shall be paid. in full and the second month pro-rated for the days
the tenant was not in the apartment the first month. Written 30 day notice to

move and full payment of rent Is required: under the NEVADA REVISED STATUES.

THE PARKING SPACE FOR THIS UN

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TARA VISTA APARTMENTS (2)
RENTAL AMOUNT AND DEPOSIT: The rent on the above premises is

; 4
$ (16.~per month. The rental deposit for the premises fs $ bs
which consists of a non-refundable cleaning deposit. Initial i

RENTAL DUE DATES: Rent is due on the first of each month. If not paid by the 3°
day of the month, late fees will apply. A late fee of $35.00 for the first late day
and $10.00 each day thereafter will be assessed until paid. If any tenant has a
problem and cannot pay by the due day, they must talk to the manager to n make
arrangements other than the lease agreement. Ail special arranggshents must be
approved in writing by the manager. initial

RETURNED CHECK FEES AND EVICTION FEE: There is a $35.00 return check fee
for any returned check, and late charge will accrue from the 4" day. of the month.
if a 5-day notice i is issued to the lessee for non-payment of rent, there will be a
$25.00 fee to the lessee. In addition to this fee, if any eviction Is filed with the
Justice Court, all court fees and constable fees will be charged to lessee. If a
tenant is evicted and dees net remove ail of his/her belongings, a storage fee, not
to exceed the monthly: rental fee, will be accessed and must be palg fpefore the
belongings are released. Inftial

TENANT INSPECTION OF PREMISES: By signing this agreement, the lessee has
inspected the premises < and certified that it is in | good condition at the time of
move-in and the lessee has’ received a copy of the WALIC-FHROUGH | list noting the
condition of the apartment prior to move-in. Lessee agrees to keep the premises
clean and in good repair during the tenancy, including alt carpets:and blinds.

NOTE: Lessee is responsible for:al general repairs. Jf in the opinion of the
manager, there is'a buildup of trash, dirty dishes, food lying around or the
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TARA VISTA APARTMENTS (3)

apartments in total disarray creating. a roach ing estati Au
responsible for the treatment by-any outside: services required to get rid of the
problem over and above the managements’ normal process of treatmen te |

GLASS BREAKAGE: All glass breakage is the responsibility of the tenant and will
be repaired with-in 24 hours of the. occurrence. [f the owner repairs the damage,
there will be a labor charge of $20. 00 above the billing. The tenant will pay for

the repairs upon presentation by the manager with-in 72 hours. a
ia AE

LESSEE IDEMNIFICATION: Lessee agrees to indemnify and hold lesser and the
owner harmless fram any liability, claims, losses, damage or expenses, including

attorney’s fees arising from injury or death of any person.

own personal residence and not allow any other person to sublet or visit over 72
hours without prior written ‘approval of the manager. Such approval will not be
unreasonably withheld. There will be a $15.00 a day charge te lessee for any and
all persons found on or in the premises after 72 hours with no written approval of

PET FEE IF APPROVED BY MANAGEMENT: There will be NO PETS unless
approved by management in writing and a non-refundable pet fee of $. [5.00 for
EACH pet is paid in full prior to move-in. All dogs must be kept on a leash,

Tenants must clean up after their pets. Initial__ ZU U

ONLY COX CABLE IS ALLOWED ON PROPERTY! initial. Nf ha ~

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_ TARA VISTA APARTMENTS (4)

LESSEE 1S RESPONSIBLE FOR ALL GUESTS’ ACTIONS: tessee agrees to be fully
Fresponsivie for any and all actions of their guests. Lessee-agrees to keep the
premises quiet and not annoy or harass any other parties in the complex.

wnitial_ALs

LESSEE’S CAR RESPOSIBILITIES: Lessee is responsible for maintaining any vehicle
in proper operational condition with. proper registration or it will be removed at
lessee’s expense, unless arrangements are made with the manager for a
temporary situation not to exceed five (5} days. Tenant also agrees not to work
on any car on the property and must park cars in an assigned area with the front
facing the building. Vehicles are not to be backed Into parking spaces. Guests are
to park on the front side of the complex. {Remember that on 4. MOWDAy?s the

street sweeper comes and vehicles parked on Tara Ave. will be ticketed by th
city. rnal_e

LESSEE AGREES NOT TO ENGAGE IN ANY ILLEGAL ACTIVIFIES: Lessee will not
make, sell or distribute drugs of any kind, legal or illegal anywhere on or near Tara

Vista Apartments. Lessee will not allow persons on the property who conduct
themselves improperly using foul language, dress in gang or act indecently.

Initial

THESE APARTMENTS ARE PARTIALLY FURNISHED: These premises are rented

with stove, refrigerator, carpet and-window blinds. Lessee agrees to-be

responsible for any items missing or broken. Each apartment has cable and

telephone lines available and tenant must maintain these lines in good repair. if

window blinds get damaged or broken, they must be replaced.
Initial
rr
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TARA VISTA APARTMENTS (5)

PLEASE LIST ALL PERSONS’ NAMES AND AGES THAT WILL BE RESIDING IN THE
APT:

1 CAQDS BCuddlace [3 RELATIONSHIP #17

2. AGE RELATIONSHIP

3. AGE RELATIONSHIP

FOUND TO BE LIVING IN THE APARTMENT THE RENT WILL AUTOMATICALLY

AS! BY $50/MONTH PER PERSON jor the duration of the leasei
l HAVE READ THIS RENTAL AGREEMENT AND AGREE TO EACH OF ITS’

PROVISIONS.

esse Catia  Prcussicit DATE af 26 | (7

LESSEE ithe, (4 DATE i 2a
. DATE

MANAGER/OWNER

Ul DEPOSIT oy DTAL PAID. AT MOVE IN:
f (BoP 1° MONTH'S RENT VOD”
D PET FEE (REVISED 5/13/2015)

ee
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----- If you are evicted from Tara Vista Ak ts.
You are automatically trespassed from
The property.

—-- If you allow someone who has been
Trespassed from Tara Vista Apts.

Inside your Apt. you are also subject
to an eviction.

Management

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EXHIBIT 2

PROOF
OF
REGISTRATION
AND
INSURANCE

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DMV MY “Stare Document 1 Filed 12/10/18
dmvnyv.com

555 Wright Way EXPIRES
co Ho 2 O18 rre22%.

PLATES AND REGISTRATION MUST BE RETURNED WHEN NOT OPERATING THE VEHICLE

aaoavk {2003 |Mrecirap (6 |20120.00 le oo
{MEFMS0US3G6NG244 SABLE GS" CLARK
ISSUE DATE eeT NUMBER UNIT NUMBER FARM/RANCH VEHICLE [DECAL NUMBER PLATE BACKGROUND
11/22/96 if [ N 440AVK SUNSET
‘ a
RAMOS-PACUSSICH, CARLOS MANUEL (RE@D) eae
epee
RAMOS-PACUSSICH, CARLOS MANUEL Soe
3915 TARA AVE APT 6 =a
LAS VEGAS NV 89102-0108 soos
a

Form NVREGO4 = 124891171 - 3057 -

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L A — A
Instructions for applying the
decal to the rear license plate are
on the reverse of this form.
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~AARP | Sone
December 3, 2018 Program from

THE
HARTFORD

Coverage: Auto
Reference Number: 55PHT734485

Carlos Pacussich
3915 Tara Ave Apt 6
Las Vegas, NV 89102-0108

Dear Carlos Pacussich,

Thank you for trusting the AARP Auto Insurance Program from The
Hartford to meet your auto insurance needs. We appreciate your
business.

We're writing to you to confirm that the following policy is in
effect for Carlos Pacussich and that there is no lapse in coverage.

Policy Number: 55PHT734485

Policy Effective Date: May 28, 2015

Policy Expiration Date: May 28, 2019

Description: 2003 MERCURY SABLE GS VIN 1MEFM50U93G606244,
1999 PLYMOUTH GRN VOYAGER SE E VIN 1P4GP44L7XB850496

If you have any questions, please call one of our customer care
representatives at 1-800-423-6789. We are open Monday through Friday
from 7 a.m. to 11 p.m., your time and Saturday from 8 a.m. to 6 p.m.,
Eastern Time.

Sincerely,

The Hartford

P. S. As a reminder, you can log in to thehartford.com/myaccount to
securely manage your account, view your policies, pay a bill and more.

This insurance program is underwritten by Hartford Fire Insurance Company and its
affiliates, Hartford, CT.

4176879263\551111\1203\NV\5.052\RA
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PICTURE PROOF
OF
MANAGEMENT
RELATIONSHIP
: TO
QUALITY TOWING

26 ( sign placed subsequent to Pacussich towing)

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COPY
OF
LETTER
NOTICE INTENT
TO
SUE

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CARLOS RAMOS PACUSSICH
3915 TARA AVENUE
APARTMENT #6
LAS VEGAS, NV 89102

Westland Tara Vista Apartments
3820 Pennwood Avenue
Las Vegas, NV 89102

Subject: Notice of Intent to Sue - Compensatory, Punitive, Exemplary Damages

Issue: Theft of Motor Vehicle by Quality Towing with Westland Tara Vista
acquiescence/conspiracy.

Dear Office Director:

On about Friday November 2, 2018, at approximately 11:00 AM, the undersigned
went to the above identified Westland Tara Vista office identified above for the
dual purpose of paying the rent and delivering proof that the my Motor Vehicle
was legally parked. The rent money and the documentation that my Vehicle was
legally parked were accepted by “Lucy”, who informed the undersigned that the
Vehicle documentation would be presented to management officials to address the
situation, and the return of the car to me.

It should be well understood that the undersigned has been exceedingly patient
regarding the illegal confiscation of said Motor Vehicle, in violation of the
undersigned’s United States Constitution’s 4" Amendment Rights. However, I
have now been inconvenienced, virtually harassed by Westland Tara Vista
Apartments’ lack of action to return said property to its rightful owner.

In conclusion, please be advised that you, collectively, have been fairly noticed
regarding the egregious injustice of confiscation of legally parked property on
private property, for which I was given permission, both by the former owner as
well as the new property owner, yet, you, collectively fail to act to correct this
injustice.

I expect the immediate return of property or legal action will be taken.

GOPY

Carlos Ramos Pacussich

